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NVB 3022 (Rev. 2/16)


                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEVADA


 IN RE:                                                  BK−16−16602−btb
                                                         CHAPTER 7
 BRANDON MICHAEL D'HAENENS


                                   Debtor(s)             FINAL DECREE




The estate of the debtor(s) having been fully administered,

IT IS ORDERED that SHELLEY D KROHN is discharged as trustee of the estate.

This Chapter 7 case is closed.




Dated: 4/10/20


                                                     Mary A. Schott
                                                     Clerk of Court
